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                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
IN RE:                                                                           CASE NO:
Sherman Evans, Jr.
Sebrena Yvonne Evans

                                                Uniform Plan
                                                     and
                                      Motion for Valuation of Collateral

                                                       CHAPTER 13 PLAN
                                         Date of Plan:            7/25/2017
                                      (Date Must be Date that This Plan is Signed by Debtors)
The Debtor(s) propose the following plan pursuant to § 1321*.

In conjunction with the plan, the Debtor(s) move for the valuation of secured claims in the amount set forth in paragraph 8.
The Debtor(s) propose to pay the holder of the Secured Claim only the amounts set forth in the Debtor(s)' Plan. The Court
will conduct a scheduling conference on this contested matter on the date set for the hearing on confirmation of the
Debtor(s)' plan. You must file a response in writing not less than 5 days (including weekends and holidays) before the
hearing on confirmation of the plan or the valuation set forth in the plan may be adopted by the Court. If no response is filed,
the Debtor(s)' sworn declaration at the conclusion of this plan may be submitted as summary evidence at the hearing
pursuant to Rule 7056 and 28 U.S.C. § 1746. If no timely answer is filed, the Court may conduct a final hearing on the
objection at the hearing on confirmation of the plan.

1. Payments. The Debtor(s) submit all or such portion of their future earnings and other future income to the supervision and
control of the chapter 13 Trustee ("Trustee") as is necessary for the execution of the plan. The amount, frequency, and duration
of the payments, are as follows:


            Beginning Month**              Ending Month                 Amount of                        Total
                                                                      Monthly Payment
       Pre-modification payments to Trustee                                                                           --
              1 (Aug 2017)                60 (Jul 2022)                         $1,440.00                    $86,400.00
                                                                              Grand Total:                   $86,400.00
The first monthly payment is due not later than 30 days after the date this case was filed. If the payments to be made by the
chapter 13 trustee pursuant to paragraph 4 are adjusted in accordance with the Home Mortgage Payment Procedures adopted
pursuant to Bankruptcy Local Rule 3015(b) (whether on account of a change in any escrow requirement, a change in the
applicable interest rate under an adjustable rate mortgage, or otherwise), the Debtor(s)' payments required by this paragraph 1
will be automatically increased or decreased by (i) the amount of the increase or decrease in the paragraph 4 payments; and
(ii) the amount of the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change. The Posted
Chapter 13 Trustee Fee is the percentage fee posted on the Court's web site from time to time. The chapter 13 trustee is
authorized to submit an amended wage withholding order or to amend any automated bank draft procedure to satisfy the
automatic increase or decrease.

A notice of any adjustment in the payment amount must be filed by the chapter 13 trustee.

Except as otherwise ordered by the Court, payments to the chapter 13 trustee will be made pursuant to a wage withholding
order, an EFT Order or an ACH Order. Local Rule 1007(d) determines the payment form that is required from time-to-time.




* All § references are to the Bankruptcy Code and Bankruptcy Rules unless otherwise cited.
** When subsequent tables refer to "Month #", Month #1 is the month in which the first payment is due under 11 U.S.C. § 1326(a)(1).
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2. Priority Claims. From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in full, all claims entitled to
priority under § 507. Payments shall be made in the order of priority set forth in § 507(a) and § 507(b). Payments of equal
priority shall be made pro rata to holders of such claims. Priority claims arising under § 503(b)(2) shall be paid only after entry of
an order by the Bankruptcy Court approving payment of the claim. If this case is dismissed, no priority claim arising under
§ 503(b)(2) shall be allowed unless an application for allowance is filed on or before 21 days after entry of the order of
dismissal.


                Name of Holder                     Amount of       Interest      First         Last         Amount of          Total
                of Priority Claim                   Priority         Rate      Payment       Payment        Estimated
                                                    Claim           Under       of this       of this        Periodic
                                                                     Plan      Amount        Amount         Payment
                                                                               in Mo. #      in Mo. #

Vasquez Law Group, PLLC                             $3,435.00             Total pre-modification payments by Trustee                    --
                                                                     0.00%          1             8        Pro-Rata             $3,435.00
Vasquez Law Group, PLLC                               $100.00             Total pre-modification payments by Trustee                    --
                                                                     0.00%          8             8        Pro-Rata               $100.00

A priority claim of $100.00 is allowed to Debtor(s)' counsel if:

(i) a proposed wage order was filed on the petition date for Debtor(s) earning a wage or salary; or,

(ii) if the Debtor(s) are retired, self-employed, or unemployed or if the proposed wage order is insufficient to provide the full
monthly plan payment, a proposed Electronic Funds Transfer Certification or ACH Certification was filed on the petition date. No
application or further order is required. The $100.00 allowance is in addition to any amounts otherwise awarded by the Court.


3. Secured Claims for which Collateral is to be Surrendered upon Confirmation. The Debtor(s) surrender the following
collateral:

 Name of Creditor                                        Description of Collateral

Upon confirmation of this Plan, the Debtor(s) immediately surrender and abandon the property and agree to immediately turn
over and/or vacate the property, and the lienholder(s) may take any action allowed under applicable law with respect to this
property without further order of the Court.
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Debtor(s):   Sherman Evans, Jr.
             Sebrena Yvonne Evans

4. Secured Claim for Claim Secured Only by a Security Interest in Real Property that is the Debtor(s)' Principal Residence
(Property to be Retained). For each such claim, utilize either A, B, or C, below:
     A. The following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence. The amount listed as the "Principal Amount of Claim
for Arrearage" is the amount proposed by the Debtor(s) in this Plan. If the actual allowed claim is in a different amount, the
amount paid pursuant to this Plan shall be the amount due on the actual amount of the allowed claim without the need of an
amended plan. The amount listed as "Amount of Estimated Periodic Payment" will be adjusted to reflect the actual amount of
the allowed claim without the need of an amended plan.

 Name of Holder of Secured Claim /                  Principal       Interest       First         Last         Amount of           Total
 Security for Claim                                Amount of          Rate      Payment       Payment         Estimated
                                                   Claim for         Under        of this       of this        Periodic
                                                   Arrearage          Plan      Amount in     Amount in       Payment
                                                                                 Month #       Month #

Propel Financial Services                            $3,953.32             Total pre-modification payments by Trustee                      --
Property Taxes                                                       11.90%           8            55       Pro-Rata               $5,353.23
U.S. Bank Trust National Assoc                       $8,500.00             Total pre-modification payments by Trustee                      --
Homestead - Mortgage Arrears                                          0.00%           8            55       Pro-Rata               $8,500.00
U.S. Bank Trust National Assoc.                   $114,599.82              Total pre-modification payments by Trustee                      --
Homestead - Ongoing Payment                                           0.00%           1            60         $845.61             $50,736.60

Payment of the arrearage amounts shall constitute a cure of all defaults (existing as of the petition date) of the Debtor(s)'
obligations to the holder of the secured claim.

The Secured Claims held by secured creditors holding a claim secured only by a security interest in real property that is the
Debtor(s)' residence (other than the arrearage claims set forth in the above table) will be paid in accordance with the pre-petition
contract held by the holder of the secured claim. The first such payment is due on the first payment due date under the
promissory note (after the date this bankruptcy case was filed). During the term of the plan, these payments will be made
through the chapter 13 trustee in accordance with the Home Mortgage Payment Procedures adopted pursuant to Bankruptcy
Local Rule 3015(b). Each holder of a claim that is paid pursuant to this paragraph must elect to either (i) apply the payments
received by it to the next payment due without penalty under the terms of the holder's pre-petition note; or (ii) waive all late
charges that accrue after the order for relief in this case. Any holder that fails to file an affirmative election within 30 days of entry
of the order confirming this plan has waived all late charges that accrue after the order for relief in this case. Notwithstanding the
foregoing, the holder may impose a late charge that accrues following an event of default of a payment due under paragraph 1 of
this Plan.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

The Debtor(s) must provide the information required by the chapter 13 trustee pursuant to the Home Mortgage Payment
Procedures, prior to 7 days after the date this Plan is proposed.
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     B. The holder of the claim secured only by a security interest in real property that is the Debtor(s)' principal residence has
agreed to refinance the security interest and claim on the terms set forth on the document attached as Exhibit "A". The
refinancing brings the loan current in all respects. The terms of the loan that is being refinanced and the new loan are
described below:

                                                                        Old Loan                                  New Loan
 Current amount owed on old loan and total
 amount borrowed on new loan

 Interest rate is fixed or variable?

 Interest rate (in %)

 Monthly principal and interest payment

 Closing costs paid by debtors

 Monthly required escrow deposit


Payments made to the above referenced holder will be paid (check one, ONLY if Debtor(s) have checked option B, above):

             Through the chapter 13 trustee.
             Directly to the holder of the claim, by the Debtor(s). If there has been a default in payments following the refinancing,
             future payments will be through the chapter 13 trustee. If payments are to be made directly to the holder of the claim
             by the Debtor(s), then the holder of the claim may not impose any attorneys fees, inspection costs, appraisal costs or
             any other charges (other than principal, interest and escrow) if such charges arose (in whole or in part) during the
             period (i) when the case is open; (ii) after the closing of the refinanced loan; and (iii) prior to a modification of this plan
             (i.e., following a default by the Debtor(s) in payments to the holder of the claim) pursuant to which the Debtor(s)
             commence payments through the chapter 13 trustee to the holder of the claim secured solely by a security interest in
             the Debtor(s)' principal residence.
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      C. The following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence. The Debtor(s) allege that the total amount of debt
secured by liens that are senior in priority to the lien held by                           City Park H.O.A. Inc
exceeds the total value of the principal residence. Accordingly, the claim will receive (i) no distributions as a secured claim; and
(ii) distributions as an unsecured claim only in accordance with applicable law.

Upon the Debtor(s)' completion of all payments set forth in this plan, the holder of the lien is required to execute and record a full
and unequivocal release of its liens, encumbrances and security interests secured by the principal residence and to provide a
copy of the release to the Debtor(s) and their counsel. Notwithstanding the foregoing, the holder of a lien that secures post-
petition homeowners' association fees and assessments will be allowed to retain its lien, but only to secure (i) post-petition
assessments; and (ii) other post-petition amounts, such as legal fees, if such other post-petition amounts are (x) incurred with
respect to post-petition fees and assessments; and (y) approved by the Court, if incurred during the pendency of the bankruptcy
case.

             Name of Holder of Lien to which this                       City Park H.O.A. Inc
             provision applies
             Address of Principal Residence                             1673 Nichole Woods Drive, Houston TX 77047

             Debtor(s)' Stated Value of Principal                       $111,098.00
             Residence
             Description of all Liens Senior in                         Estimated Amount
             Priority (List Holder and Priority)                        Owed on This Lien
             U.S. Bank Trust National Assoc. / Mortgage                        $114,599.82




                                        Total Owed--All Senior Liens           $114,599.82

This paragraph 4C will only be effective if the Debtor(s) do each of the following:

    •    Mail a "Lien Stripping Notice", in the form set forth on the Court's website, to the holder of the lien that is governed by
         this paragraph 4C. The Lien Stripping Notice must be mailed in a separate envelope from any other document.


    •    File a certificate of service reflecting that the Lien Stripping Notice was mailed by both certified mail, return receipt
         requested and by regular US mail to the holder of the lien at all of the following addresses, with the mailings occurring
         not later than 30 days prior to the hearing on this plan:

                °    The address for notices shown on any proof of claim filed by the holder.

                °    Any attorney representing the holder who has filed a request for notice in this bankruptcy case.

                °    If no address for notices is given on a proof of claim filed by the holder, on the last known address of the holder.

                °    If the holder did not file a proof of claim, service must be in accordance with Fed. R. Bankr. P. 7004.
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5. Debt Incurred within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or Debt Incurred within
1 Year Preceding Petition Date and Secured by Other Collateral for Which FULL PAYMENT, with Interest, is Provided.
The following table sets forth each class of secured creditors holding a claim for a debt incurred within 910 days preceding the
petition date and secured by a lien on a motor vehicle or for a debt incurred within 1 year preceding the petition date and secured
by other collateral for which full payment is proposed. The amount listed as "Principal Amount of Claim" is an estimate of the
actual allowed claim.

If the Court allows a claim in a different amount than is shown below under "Principal Amount of Claim", the Plan shall be
deemed amended to pay the principal amount as allowed without the requirement of the filing of an amended plan. The amount
listed as "Estimated Periodic Payment" will be adjusted to reflect the actual amount of the allowed claim.

Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this plan is confirmed)
of the Debtor(s)' obligations to the holder of the secured claim. If the monthly payment in the proposed plan is less than the
amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly adequate
protection payment.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

Each secured claimant is hereby designated to be in a class by itself. Subject to disposition of a timely filed motion to avoid a
lien under § 522, or a complaint to determine the extent or validity of a lien filed under Fed. R. Bankr. P. 7001, each secured
creditor shall retain the lien securing its claim. The lien shall be enforceable to secure payment of the claim the lien secures, as
that claim may be modified by the plan. The holder of a claim secured by a valid lien may enforce its lien only pursuant to § 362.

 Name of Holder of Secured Claim /                Principal      Interest      First         Last         Amount of           Total
 Security for Claim                              Amount of         Rate      Payment       Payment        Estimated
                                                   Claim          Under       of this       of this        Periodic
                                                                   Plan      Amount in     Amount in      Payment
                                                                               Mo. #        Mo. #

Tiempo Loans                                         $371.00             Total pre-modification payments by Trustee                   --
1993 Honda Accord                                                   5.25%           1             7           $1.25               $8.75
                                                                                    8             8           $7.13               $7.13
                                                                                    9            54           $8.70             $400.20
                                                                                   55            55           $7.78               $7.78
6. Debt Incurred within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or Debt Incurred within
1 Year Preceding Petition Date and Secured by Other Collateral for Which LESS THAN Full Payment, with Interest, is Provided.
The following table sets forth each class of secured creditors holding a claim for a debt incurred within 910 days preceding the
petition date and secured by a lien on a motor vehicle or for a debt incurred within 1 year preceding the petition date and secured
by other collateral for which less than full payment is proposed. The amount listed as "Principal Amount of Claim" is an
estimate of the actual allowed claim. The amount that will be paid under the plan is the amount, with interest, that pays the
lesser of (i) the amount listed in the holder's proof of claim; or (ii) the amount listed as "Amount of Claim to be Paid Under Plan"
(the Amount of Claim to be Paid Under Plan will NOT be adjusted to reflect the actual Allowed Amount of the Claim).

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

Each secured claimant is hereby designated to be in a class by itself. Subject to disposition of a timely filed motion to avoid a
lien under § 522, or a complaint to determine the extent or validity of a lien filed under Fed. R. Bankr. P. 7001, each secured
creditor shall retain the lien securing its claim. The lien shall be enforceable to secure payment of the claim the lien secures, as
that claim may be modified by the plan. The holder of a claim secured by a valid lien may enforce its lien only pursuant to § 362.

 Name of Holder of Secured Claim /           Principal    Amount of     Interest      First      Last        Amount of        Total
 Security for Claim                         Amount of      Claim to       Rate     Payment     Payment       Estimated
                                              Claim        be Paid       Under       of this    of this       Periodic
                                                            under         Plan     Amount      Amount        Payment
                                                             Plan                   in Mo. #   in Mo. #
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Debtor(s):   Sherman Evans, Jr.
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7. Secured Debts Paid in Accordance with Pre-Petition Contract (Use Only for Contracts on Which There is No Default).
The Debtor(s) represent that there are no payment defaults on the contracts listed in this paragraph. The secured claims held
by the following secured creditors will be paid in accordance with the pre-petition contracts between the Debtor(s) and the holder
of the secured claim:

 Name of Holder /                                                                Total Claim       Collateral Value          Contract
 Collateral for Claim                                                                                                     Interest Rate


Harris County                                                                          $320.67               $320.67             0.00%
Homestead - Property Taxes Paid Direct

Harris County MUD #390                                                                 $557.30               $557.30             0.00%
Homestead- MUD Taxes - Paid Direct

Prestige Financial                                                                  $19,850.00           $17,500.00              0.00%
2015 Kia Sportage (approx. 59250 miles)

8. All Other Secured Claims (Property to be Retained). Each secured claimant is hereby designated to be in a class by itself.
Subject to disposition of a timely filed motion to avoid a lien under § 522, or a complaint to determine the extent or validity of a
lien filed under Fed. R. Bankr. P. 7001, each secured creditor shall retain the lien securing its claim. The lien shall be
enforceable to secure payment of the claim the lien secures, as that claim may be modified by the plan. The holder of a claim
secured by a valid lien may enforce its lien only pursuant to § 362.

The following table sets forth the treatment of each class of secured creditors whose claims are modified by the Plan. The
amount of secured claim to be paid under this plan is the lesser of the amount listed below as the "Collateral Value" and the
allowed amount of the holder's claim. If the Court allows a different amount than is shown below, the Plan shall be deemed
amended without the requirement of the filing of an amended plan. The amount listed as "Amount of Estimated Periodic
Payment" will be adjusted to reflect the actual amount of the allowed claim.

 Name of Holder of Secured Claim /           Principal    Collateral      Int.         First        Last      Amount of         Total
 Security for Claim                         Amount of      Value         Rate        Pmt. of      Pmt. of     Estimated
                                              Claim                      per        this Amt.    this Amt.     Periodic
                                             (without                    Plan        in Mo. #     in Mo. #    Payment
                                            regard to
                                             Value of
                                            Collateral)

Conns                                        $1,639.00     $2,840.00        Total pre-modification payments by Trustee                  --
Computer                                                                  4.00%         8           55       Pro-Rata           $1,818.81
Internal Revenue Service                    $6,476.09      $6,476.09        Total pre-modification payments by Trustee                  --
Personal Property                           Pay Claim                     3.00%         8           55       Pro-Rata           $7,003.51
Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this plan is confirmed)
of the Debtor(s)' obligations to the holder of the secured claim. If the monthly payment in the proposed plan is less than the
amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly adequate
protection payment.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

9. Specially Classified Unsecured Claims. The following unsecured claims will be treated as described below:

 Name of Unsecured Creditor                                Treatment
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10. Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 9 above shall
comprise a single class of creditors. Allowed claims under this paragraph shall be paid a pro rata share of the amount remaining
after payment of all secured, priority, and specially classified unsecured claims. The Debtor(s) estimate that these unsecured
creditors will receive a ____________________
                              20%                   dividend.

11. Executory Contracts. Except as set forth elsewhere in this Plan or in the following sentence, all executory contracts are rejected.
The following contracts are assumed:

12. Asset Sales. The Debtor(s) are authorized--without the need for further Court order--to sell their exempt property in accordance
with the following sentence. Any such sale shall provide for the full payment, at closing, of all liens on the property that is sold. If
the Debtor(s) request and the Court so determines, an order confirming this authority may be granted by the Court, ex parte.

13. Surrender of Collateral during the Plan Period. The Debtor(s) may surrender collateral to a secured creditor after
confirmation of the Plan by filing a motion pursuant to Fed. R. Bankr. P. 4001 for an agreed order providing for surrender of
collateral and termination of the automatic stay. The motion will be submitted on 14 days notice. Upon the entry of an order
approving the surrender, the Debtor(s) will immediately turn over and/or vacate the property, and the lienholder(s) may take any
action allowed under applicable law with respect to this property without further order of the Court.

14. Emergency Savings Fund. Line 21 of Schedule J (the Debtor's expense budget) includes a provision for an emergency
savings fund by the Debtor(s). Deposits into the emergency savings fund will be made to the Trustee. Withdrawals from the
emergency savings fund may be made by application to the Court, utilizing the form application from the Court's website.
Withdrawals should be requested only in an emergency. The form application need only be served electronically, and only to
persons subscribing to the Court's CM/ECF electronic noticing system. An application will be deemed granted on the 15th day
after filing unless (i) an objection has been filed; or (ii) the Court has set a hearing on the motion. The Debtor(s) may request
emergency consideration of any application filed under this paragraph. The balance in the emergency savings fund will be paid
to the Debtor(s) following (i) the granting of the discharge in this case; (ii) the dismissal of this case; or (iii) the conversion of this
case to a case under chapter 7, except on those circumstances set forth in 11 U.S.C. § 348(f)(2).

The deposits into the emergency savings fund will be:

                  Month of First              Month of Last                   Amount                        Total
                  Deposit of this             Deposit of this
                    Amount                      Amount

                                                          Pre-modification savings deposits                               --
                              1                         60                              $25.00                  $1,500.00
                                                                                       TOTAL                    $1,500.00

15. Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in accordance with § 1328. Property of the
estate shall vest in the Debtor(s) upon entry of the discharge order.

16. Plan Not Altered from Official Form. By filing this plan, Debtor(s) and their counsel represent that the plan is in the official
form authorized by the Court. There are no addenda or other changes made to the official form.
17. Additional Provisions. [If an additional provision is requested, the Debtor(s) must simultaneously file a motion seeking
approval for the inclusion of the additional provision].
None.
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Debtor's Declaration Pursuant to 28 U.S.C. § 1746
I declare under penalty of perjury that the foregoing statements of value contained in this document are true and correct.



Dated:       7/25/2017


/s/ Sherman Evans, Jr.
Sherman Evans, Jr.

/s/ Sebrena Yvonne Evans
Sebrena Yvonne Evans

/s/ Regina M. Vasquez
Regina M. Vasquez
Vasquez Law Group, PLLC
701 N. Post Oak Dr., Ste 655
Houston, TX 77024
Attorney for Debtor(s)
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               Sebrena Yvonne Evans



                   Plan Summary and Statistical Cover Sheet for Proposed Plan Modification
                                           Date:               7/25/2017
                                 (Date Should be Date that this Proposed Plan is Signed by Debtor)

                                                Disposable Income and Plan Payments

       (A)       (B)             (C)         (D)     (E)          (F)                 (G)                        (H)                   (I)
  Projected Projected         Projected     Beg.     End        Payment         Payments for the          Savings Expense            Total
  Schedule Schedule          Disposable    Month    Month       Amount             Benefit of              from Line 21 of          Monthly
        "I"      "J"           Income         #       #                            Creditors                  Schedule J            Trustee
   Income   Expenses                                                                                                               Payment
 (as shown (as shown                                                                                                               Including
  on most   on most                                                                                                                 Savings
   recently  recently
     filed     filed
  Schedule Schedule
         I)       J)

                                              Total Pre-Modification
                                                                                                     --                       --               --
                                               Payments to Trustee

                                                                               Per           Total         Per        Total
                                                                              Month                       Month
   $4,028.65     $2,588.25     $1,440.40   1: 08/17 60: 07/22   $1,440.00    $1,415.00   $84,900.00         $25.00   $1,500.00       $86,400.00
                                                            Grand Total                  $84,900.00                  $1,500.00       $86,400.00
                                               Less Posted Chapter 13
                                                                                            $5,051.40                   $0.00         $5,051.40
                                                          Trustee Fee*

                                                           Net Available                 $79,848.60                  $1,500.00       $81,348.60


                                Projected Trustee Disbursements to Priority and Secured Creditors

 Name of Holder /                                   Type of Claim        Int.       Beg.       End          Payment                 Total
 Description of Collateral (or "None" if             (List Priority     Rate        Month     Month         Amount                 Payment
 appropriate)                                          Claims,                        #         #
                                                     Followed by
                                                        Claims
                                                       Secured
                                                     by Principal
                                                     Residence,
                                                     Followed by
                                                    Other Secured
                                                        Claims)

 Vasquez Law Group, PLLC                 Priority                          Total Pre-Modification Payments by Trustee                       --
 None                                                                      0.00%        1          8        Pro-Rata                $3,435.00
 Vasquez Law Group, PLLC                 Priority                          Total Pre-Modification Payments by Trustee                       --
 None                                                                      0.00%        8          8        Pro-Rata                 $100.00
 City Park H.O.A. Inc                    Principal Res.                    Total Pre-Modification Payments by Trustee                       --
 1673 Nichole Woods Drive, Houston TX 77047
                                         (Arrearage)                                                                                    $0.00
 Propel Financial Services               Principal Res.                 Total Pre-Modification Payments by Trustee                          --
 Property Taxes                          (Arrearage)                   11.90%        8         55        Pro-Rata                   $5,353.23
 U.S. Bank Trust National Assoc          Principal Res.                 Total Pre-Modification Payments by Trustee                          --
 Homestead - Mortgage Arrears            (Arrearage)                    0.00%        8         55        Pro-Rata                   $8,500.00



* The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court's website.
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 U.S. Bank Trust National Assoc.               Principal Res.     Total Pre-Modification Payments by Trustee             --
 Homestead - Ongoing Payment                   (Arrearage)        0.00%        1         60          $845.61    $50,736.60
 Conns                                         Secured            Total Pre-Modification Payments by Trustee             --
 Computer                                                         4.00%        8         55        Pro-Rata      $1,818.81
 Internal Revenue Service                      Secured            Total Pre-Modification Payments by Trustee             --
 Personal Property                                                3.00%        8         55        Pro-Rata      $7,003.51
 Tiempo Loans                                  Secured            Total Pre-Modification Payments by Trustee             --
 1993 Honda Accord                                                5.25%        1          7            $1.25      $423.86
                                                                               8          8            $7.13
                                                                               9         54            $8.70
                                                                              55         55            $7.78
 Deposit into Trustee Administered                                Total Pre-Modification Payments by Trustee             --
 Savings Fund (Must equal amounts from                            0.00%        1         60           $25.00     $1,500.00
 Column H Above)

                                                                                                Grand Total     $78,871.01

                      SUMMARY OF PAYMENTS                                                  BEST INTEREST TEST
 Net Available to Creditors (Must Equal Net Available           $79,848.60    Value of total non-exempt
                                                                              property                               $0.00
 from Column G Above)
 Less Estimated Attorneys' fees                                  $3,535.00    Total distributions to all
 Less Total to Priority Creditors                                    $0.00    priority and general               $6,012.59
                                                                              unsecured creditors
 Less Total to Secured Creditors                                $73,836.01
 Net Available for Unsecured Creditors                           $2,477.59
 Estimated General Unsecured Claims                             $11,986.47
 Forecast % Dividend on General Unsecured Claims                      20%
